Case 1:05-md-01720-MKB-VMS Document 8732 Filed 10/26/22 Page 1 of 36 PageID #:
                                496596
Case 1:05-md-01720-MKB-VMS Document 8732 Filed 10/26/22 Page 2 of 36 PageID #:
                                496597
Case 1:05-md-01720-MKB-VMS Document 8732 Filed 10/26/22 Page 3 of 36 PageID #:
                                496598
Case 1:05-md-01720-MKB-VMS Document 8732 Filed 10/26/22 Page 4 of 36 PageID #:
                                496599
Case 1:05-md-01720-MKB-VMS Document 8732 Filed 10/26/22 Page 5 of 36 PageID #:
                                496600
Case 1:05-md-01720-MKB-VMS Document 8732 Filed 10/26/22 Page 6 of 36 PageID #:
                                496601
Case 1:05-md-01720-MKB-VMS Document 8732 Filed 10/26/22 Page 7 of 36 PageID #:
                                496602
Case 1:05-md-01720-MKB-VMS Document 8732 Filed 10/26/22 Page 8 of 36 PageID #:
                                496603
Case 1:05-md-01720-MKB-VMS Document 8732 Filed 10/26/22 Page 9 of 36 PageID #:
                                496604
Case 1:05-md-01720-MKB-VMS Document 8732 Filed 10/26/22 Page 10 of 36 PageID #:
                                 496605
Case 1:05-md-01720-MKB-VMS Document 8732 Filed 10/26/22 Page 11 of 36 PageID #:
                                 496606
Case 1:05-md-01720-MKB-VMS Document 8732 Filed 10/26/22 Page 12 of 36 PageID #:
                                 496607
Case 1:05-md-01720-MKB-VMS Document 8732 Filed 10/26/22 Page 13 of 36 PageID #:
                                 496608
Case 1:05-md-01720-MKB-VMS Document 8732 Filed 10/26/22 Page 14 of 36 PageID #:
                                 496609
Case 1:05-md-01720-MKB-VMS Document 8732 Filed 10/26/22 Page 15 of 36 PageID #:
                                 496610
Case 1:05-md-01720-MKB-VMS Document 8732 Filed 10/26/22 Page 16 of 36 PageID #:
                                 496611
Case 1:05-md-01720-MKB-VMS Document 8732 Filed 10/26/22 Page 17 of 36 PageID #:
                                 496612
Case 1:05-md-01720-MKB-VMS Document 8732 Filed 10/26/22 Page 18 of 36 PageID #:
                                 496613
Case 1:05-md-01720-MKB-VMS Document 8732 Filed 10/26/22 Page 19 of 36 PageID #:
                                 496614
Case 1:05-md-01720-MKB-VMS Document 8732 Filed 10/26/22 Page 20 of 36 PageID #:
                                 496615
Case 1:05-md-01720-MKB-VMS Document 8732 Filed 10/26/22 Page 21 of 36 PageID #:
                                 496616
Case 1:05-md-01720-MKB-VMS Document 8732 Filed 10/26/22 Page 22 of 36 PageID #:
                                 496617
Case 1:05-md-01720-MKB-VMS Document 8732 Filed 10/26/22 Page 23 of 36 PageID #:
                                 496618
Case 1:05-md-01720-MKB-VMS Document 8732 Filed 10/26/22 Page 24 of 36 PageID #:
                                 496619
Case 1:05-md-01720-MKB-VMS Document 8732 Filed 10/26/22 Page 25 of 36 PageID #:
                                 496620
Case 1:05-md-01720-MKB-VMS Document 8732 Filed 10/26/22 Page 26 of 36 PageID #:
                                 496621
Case 1:05-md-01720-MKB-VMS Document 8732 Filed 10/26/22 Page 27 of 36 PageID #:
                                 496622
Case 1:05-md-01720-MKB-VMS Document 8732 Filed 10/26/22 Page 28 of 36 PageID #:
                                 496623
Case 1:05-md-01720-MKB-VMS Document 8732 Filed 10/26/22 Page 29 of 36 PageID #:
                                 496624
Case 1:05-md-01720-MKB-VMS Document 8732 Filed 10/26/22 Page 30 of 36 PageID #:
                                 496625
Case 1:05-md-01720-MKB-VMS Document 8732 Filed 10/26/22 Page 31 of 36 PageID #:
                                 496626
Case 1:05-md-01720-MKB-VMS Document 8732 Filed 10/26/22 Page 32 of 36 PageID #:
                                 496627
Case 1:05-md-01720-MKB-VMS Document 8732 Filed 10/26/22 Page 33 of 36 PageID #:
                                 496628
Case 1:05-md-01720-MKB-VMS Document 8732 Filed 10/26/22 Page 34 of 36 PageID #:
                                 496629
Case 1:05-md-01720-MKB-VMS Document 8732 Filed 10/26/22 Page 35 of 36 PageID #:
                                 496630
Case 1:05-md-01720-MKB-VMS Document 8732 Filed 10/26/22 Page 36 of 36 PageID #:
                                 496631
